   Case 5:21-cr-00300-LCB-HNJ Document 3
                                       2 Filed 09/27/21 Page 1 of 7
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                                                                                                                                                     N.D. OF ALABAMA



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                             ·""UNITED STATES DISTRICT COURT
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                ,.~ ,., ,.) 1 ~9~'!liWRN DISTRICT OF ALABAMA
             7W .:,:>' ,~ 1 ' ""NORTHEASTERN DIVISION
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  UNITE~_r$.TA1iESOF '.AMERICA

        v.

 LONNIE LEROY COFFMAN


     CONSENT TO TRANSFER OF CASE FOR PLEA AND SENTENCE
                PURSUANT TO FED. R. CRIM. P. 20

I, Lonnie Coffinan, the defendant, have been informed than an Information is or

will shortly be pending against me in the above designated case. I wish to plead

guilty to the offense charged, to consent to the disposition of the case in the District

of Columbia, in which I, Lonnie Coffinan, am held, and to waive trial in the above

captioned District.

                                                                                                       Dated:   September t..t-, 2021



                                                                                                                Defendant Lonnie Leroy Coffman



                                                                                                                Witness




                                                                                                                                        --------~----
     Case 5:21-cr-00300-LCB-HNJ Document 3
                                         2 Filed 09/27/21 Page 2 of 7
                                                                    3




                                        /s/ Henry Cornelius
                                        Henry Cornelius
                                        Assistant United States Attorney

                                Approved



Channing D. Phillips                          Prim F. Escalona
United States Attorney                        United States Attorney
District of Columbia                          Northern District of Alabama
           Case 5:21-cr-00300-LCB-HNJ Document 3
                                               2 Filed 09/27/21 Page 3 of 7
                                                                          3




                              UNITED STATES DISTRICT COURT
                                  Northern District of Alabama
                                       Office of the Clerk
                                Room 140, 1729 5th Avenue North
                                  Birmingham, Alabama 35203
                                        (205) 278-1700

Sharon N. Harris, Clerk




September 27, 2021


TO:       Clerk, U.S. District Court
          United States District Court
          District of Columbia
          333 Constitution Avenue N.W., Room 1225
          Washington D.C. 20001

                                                       RE:     USA v. Lonnie Leroy Coffman
                                                               Our Case No. 5:21-cr-300-LCB-HNJ

Dear Sir/Madam:

       Pursuant to provisions of Rule 20, Federal Rules of Criminal Procedure, I am transmitting
Consent to Transfer of Case for Plea and Sentence and copies of the pleadings in the above-styled
case, which I hereby certify to be true copies of the originals on file in this office.

          Please acknowledge receipt on the enclosed copy of this letter.


                                                       Sincerely,

                                                       SHARON N. HARRIS, CLERK



                                                       By:   Isl
                                                               ~~~~~~~~~~~-




                                                             K. Bowman, Deputy Clerk

Enclosures
Case 5:21-cr-00300-LCB-HNJ Document 3
                                    1 Filed 09/27/21 Page 4
                                                          1 of 7
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                                                                   2021 Sep-27 PM 02:08
                                                                   U.S. DISTRICT COURT
                                                                       N.D. OF ALABAMA
9/27/2021             Case 5:21-cr-00300-LCB-HNJ     Document
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                                                                       Northern    09/27/21
                                                                                District of AlabamaPage 5 of 7

                                   U.S. District Court
                       Northern District of Alabama (Northeastern)
            CRIMINAL DOCKET FOR CASE #: 5:21-cr-00300-LCB-HNJ All Defendants
                                   Internal Use Only


 Case title: USA v. Coffman                                                           Date Filed: 09/27/2021
                                                                                      Date Terminated: 09/27/2021

 Assigned to: Judge Liles C Burke
 Referred to: Magistrate Judge Herman N
 Johnson, Jr

 Defendant (1)
 Lonnie Leroy Coffman                                                   represented by Manuel J Retureta
 TERMINATED: 09/27/2021                                                                RETURETA & WASSEM, PLLC
                                                                                       300 New Jersey Ave NW, Suite 900
                                                                                       Washington, DC 20001
                                                                                       202-450-6119
                                                                                       Email: mjr@returetawassem.com
                                                                                       LEAD ATTORNEY
                                                                                       PRO HAC VICE
                                                                                       ATTORNEY TO BE NOTICED
                                                                                       Designation: Retained

 Pending Counts                                                                       Disposition
 None

 Highest Offense Level (Opening)
 None

 Terminated Counts                                                                    Disposition
 26:5861(d), 5841, 5845(f), and 5871
 UNLAWFUL TO RECEIVE A FIREARM
                                                                                      Rule 20-Consent to Transfer Case
 NOT REGISTERED
 (1)

 Highest Offense Level (Terminated)
 Felony

 Complaints                                                                           Disposition
 None



 Plaintiff
 USA                                                                    represented by Prim F. Escalona, US Attorney

https://ecf.alnd.circ11.dcn/cgi-bin/DktRpt.pl?170165468220314-L_1_0-1                                                     1/3
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                                                                       Northern    09/27/21
                                                                                District of AlabamaPage 6 of 7

                                                                             US ATTORNEY'S OFFICE
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                                                                             ATTORNEY TO BE NOTICED
                                                                             Designation: Retained

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                                                                             UNITED STATES PROBATION OFFICE
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                                                                             Birmingham, AL 35203
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                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED
                                                                             Designation: Retained

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                                                                             Birmingham, AL 35203
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                                                                             Henry B Cornelius , Jr
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                                                                             205-244-2001
                                                                             Fax: 205-244-2182
                                                                             Email: henry.cornelius@usdoj.gov
                                                                             LEAD ATTORNEY
                                                                             ATTORNEY TO BE NOTICED
                                                                             Designation: Retained

  Date Filed                #       Docket Text
  09/27/2021                    1 INFORMATION as to dft Lonnie Leroy Coffman (1) count(s) 1. (KBB) (Entered:
                                  09/27/2021)
  09/27/2021                        (Court only) ***Staff Notes as to dft Lonnie Leroy Coffman: CAT I (KBB) (Entered:
                                    09/27/2021)
  09/27/2021                        (Court only) ***Location (LC) start as to dft Lonnie Leroy Coffman: Detained in D.C.
                                    (KBB) (Entered: 09/27/2021)
  09/27/2021                    2 CONSENT TO TRANSFER JURISDICTION (Rule 20) to District of Columbia
                                  Counts closed as to dft Lonnie Leroy Coffman (1) Count 1. (KBB) (Entered:
https://ecf.alnd.circ11.dcn/cgi-bin/DktRpt.pl?170165468220314-L_1_0-1                                                   2/3
9/27/2021             Case 5:21-cr-00300-LCB-HNJ     Document
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                                                                       Northern    09/27/21
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                              09/27/2021)




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